







COURT OF APPEALS









COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS

&nbsp;




 
  
  &nbsp;
  MILTON KELLY
  BANNISTER,
  &nbsp;
  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant,
  &nbsp;
  v.
  &nbsp;
  THE STATE OF TEXAS,
  &nbsp;
  &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellee.
  
  
  &nbsp;
   '
  &nbsp;
  '
  &nbsp;
  '
  &nbsp;
  '
  &nbsp;
  '
  
  
  &nbsp;
  No. 08-03-00016-CR
  &nbsp;
  Appeal from the
  &nbsp;
  282nd District Court
  &nbsp;
  of Dallas County, Texas
  &nbsp;
  (TC#F-0134726-IS)
  
 




&nbsp;

MEMORANDUM
OPINION

The State indicted Milton Kelly
Bannister for three counts of aggravated sexual assault of a child younger than
fourteen.&nbsp; The State also alleged that
Bannister had previously been convicted of a felony, thereby increasing the
punishment range under the habitual-felony-offenders statute.&nbsp; See Tex.
Pen. Code Ann. ' 12.42(c)(1) (Vernon Supp. 2004).&nbsp; Bannister entered an open plea of guilty to
each count and true to the prior felony conviction.&nbsp; After a bench trial on punishment, at which
Bannister testified, the trial court sentenced Bannister to twenty years= imprisonment on two of the
counts.&nbsp; On the remaining count, the
court deferred adjudicating guilt and placed him on community supervision for
ten years.








Bannister raises two issues on
appeal.&nbsp; In his first issue, he argues
that the prosecutor should not have been allowed to cross-examine him about
extraneous offenses for which there was no factual basis.&nbsp; In his second issue, he argues that
application of the habitual-felony-offenders statute under the circumstances of
this case violated his constitutional rights.&nbsp;
Bannister made no objection during the cross-examination, nor did he
raise any objection to application of the habitual-felony-offenders
statute.&nbsp; Therefore, neither of Bannister=s appellate issues are preserved for
our review.&nbsp; See Tex. R. App. P. 33.1(a)(1); Wilson
v. State, 71 S.W.3d 346, 349 (Tex. Crim. App. 2002); Broxton v. State,
909 S.W.2d 912, 918 (Tex. Crim. App. 1995).&nbsp;
Accordingly, both issues are overruled, and the judgment of the trial
court is affirmed.

&nbsp;

SUSAN
LARSEN, Justice

February 26, 2004

&nbsp;

Before Panel No. 4

Barajas, C.J., Larsen, and
McClure, JJ.

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(Do Not Publish)

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